  Case: 1:01-cr-00348 Document #: 1062 Filed: 06/06/06 Page 1 of 5 PageID #:7044



01-0348.063                                                         June 6, 2006

                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


UNITED STATES OF AMERICA             )
                                     )      No.   01 CR 348
              v.                     )
                                     )      Judge John F. Grady
                                     )
EMIL SCHULLO                         )


                             MEMORANDUM OPINION

      The court has under advisement the motion of the United States

for entry of an order of garnishment directing the Garnishee, Town

of Cicero Police Pension Board, to turn over to the Clerk of the

Court the sum of $75,333.74, consisting of the amount of money the

defendant Emil Schullo has contributed to the Board’s pension plan.

The Board has terminated the defendant’s participation in the plan

due to his criminal conviction in the case of United States v.

Schullo, 01 CR 30 (N.D. Ill.).           The requested garnishment order is

based on Schullo’s conviction in the instant case, United States v.

Spano, et al., 01 CR 348 (N.D. Ill.), where he was ordered to make

restitution to the Town of Cicero in the amount of $6 million.

      The government’s motion is based primarily on 18 U.S.C. §

3613, entitled “Civil remedies for satisfaction of an upaid fine.”

Paragraph (a) of the statute reads as follows:

      (a) Enforcement.--The United States may enforce a
      judgment imposing a fine in accordance with the practices
      and procedures for the enforcement of a civil judgment
      under Federal law or State law. Notwithstanding any other
      Federal law (including section 207 of the Social Security
  Case: 1:01-cr-00348 Document #: 1062 Filed: 06/06/06 Page 2 of 5 PageID #:7045



                                      - 2 -

        Act), a judgment imposing a fine may be enforced against
        all property or rights to property of the person fined,
        except that--

        (1) property exempt from levy for taxes pursuant to
        section 6334(a)(1), (2), (3), (4), (5), (6), (7), (8),
        (10), and (12) of the Internal Revenue Code of 1986 shall
        be exempt from enforcement of the judgment under Federal
        law;
        (2) section 3014 of chapter 176 of title 28 shall not
        apply to enforcement under Federal law; and
        (3) the provisions of section 303 of the Consumer Credit
        Protection Act (15 U.S.C. 1673) shall apply to
        enforcement of the judgment under Federal law or State
        law.

18 U.S.C. § 3613(a)(emphasis added).1 The government’s position is

that, with the exception of the specific exemptions listed in

subsections (1) and (3) of paragraph (a), the effect of the

paragraph is to make all other property subject to execution to

satisfy a restitution order.         Schullo disagrees and relies on the

underlined language “[n]otwithstanding any other federal law.”                 He

contends that the specific reference to federal law, without any

mention     of   state   law,    means   that   state    law   exemptions     are

unaffected by § 3616.       He reminds us of the maxim expressio unius

est exclusio alterius.          Schullo concludes on this basis that the

exemption his pension refund enjoys under Illinois state law

applies to protect the refund in this garnishment proceeding as

well.

        Looking simply at the language of § 3613(a), we do not believe



        1
        Paragraph (f) of § 3613 makes the section applicable to proceedings
“for the enforcement of an order of restitution.”
 Case: 1:01-cr-00348 Document #: 1062 Filed: 06/06/06 Page 3 of 5 PageID #:7046



                                     - 3 -

the exemption Schullo contends for can reasonably be inferred.

There was no need for Congress to exclude state law exemptions in

the   sentence   under   consideration.        That    was   accomplished     by

subsection (2) of paragraph (a), which states that 28 U.S.C. § 3014

shall not apply.     That statute allows a debtor to exempt from debt

collection by the United States any property that is exempt under

state law.   See 28 U.S.C. § 3014(a)(2)(A).

      Importantly, § 3613 has been specifically held by the Seventh

Circuit to permit enforcement of a lien arising from a restitution

order in a criminal case against real estate that enjoyed a

homestead exemption under Wisconsin state law. In United States v.

Lampien, 89 F.3d 1316 (7th Cir. 1996), superceded on other grounds

by statute as recognized in United States v. Hoover, 175 F.3d 564,

569 (7th Cir. 1999), the defendant was convicted of defrauding an

insurance company and ordered to make restitution.               The district

court ordered the defendant to quitclaim her homestead to the

victim insurance company.         On appeal, one issue was whether the

Wisconsin state law exemption for the homestead applied in the

federal criminal case.       The Court held that it clearly did not:

      Under the plain language of section 3613(a), upon the
      court's entry of the restitution order, a lien arose in
      favor of the United States upon all property belonging to
      Lampien, presumably including her homestead.

89 F.3d at 1320.     The Court went on to note that paragraph (c) of

§ 3613 incorporates a collection provision of the Internal Revenue

Code which the Supreme Court has held “allows the government to
 Case: 1:01-cr-00348 Document #: 1062 Filed: 06/06/06 Page 4 of 5 PageID #:7047



                                     - 4 -

enforce a lien upon any property owned by a delinquent taxpayer,

including homestead property in which the taxpayer’s spouse (or any

other third party) shares an ownership interest with the taxpayer.”

Id.

      We have no doubt that Lampien interprets § 3613 to exclude

state law exemptions and that the holding applies to the defendant

Schullo’s   right    to   a   refund    of   his    pension    contributions.

Schullo’s efforts to distinguish the case are not persuasive.                The

Court did observe that it was not entirely clear that the Wisconsin

homestead exemption applied to restitution orders imposed as a part

of a criminal sentence.       See id. at 1321.        But, returning to its

main theme, the Court went on to hold that the Wisconsin exemption

would be void under the Supremacy Clause to the extent it were

interpreted to prevent enforcement of the federal restitution

order.   See id. at 1321-22.

      Aside from his contentions regarding the interpretation of §

3613, Schullo argues that he has no present right to a lump sum

refund of his pension contributions because the Pension Board has

agreed to conduct a new hearing regarding his right to continued

participation in the pension plan.            However, in its memorandum

filed in response to Schullo’s surreply brief, the Pension Board

has made clear that its intention to hold a new hearing was

entirely dependent upon a remand of the administrative review case

from the Illinois Supreme Court. That never occurred, and judicial
 Case: 1:01-cr-00348 Document #: 1062 Filed: 06/06/06 Page 5 of 5 PageID #:7048



                                     - 5 -

review of the Board’s decision terminating Schullo’s participation

in the pension plan has ended.           There will be no further hearing

before the Board. Therefore, the entire amount of Schullo’s refund

is available for garnishment.

     Finally, Schullo argues that the garnishment of his entire

refund   would     contravene     this   court’s    order     requiring     that

restitution payments be made at the rate of 20% of his income upon

his release from prison.        However, a scheduling order of that kind

does not preempt the right of the government to seek immediate

payment when funds are available.            See United States v. Hanhardt,

353 F. Supp. 2d 957, 959-60 (N.D. Ill. 2004).

                                  CONCLUSION

     The motion of the United States for entry of an order of

garnishment   is    allowed.      The    parties   may   submit    a   proposed

garnishment order agreeable as to form.



     DATE:         June 6, 2006



     ENTER:        _____________________________________________
                   John F. Grady, United States District Judge
